                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:98-cr-00297-W
 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
         vs.                                        )                   ORDER
                                                    )
 JEROME KEITH HUNT,                                 )
                                                    )
                Defendant.                          )
                                                    )

       THIS MATTER is before the Court on Defendant’s Motion for Reduction of Sentence

Pursuant to 18 U.S.C. § 3582(c)(2) (Doc. No. 246) based upon the retroactive application of the

crack cocaine penalty reduction imposed by the United States Sentencing Commission. See United

States Sentencing Commission Sentencing Guidelines, Amendment 706 (reducing the guideline

range for crack cocaine offenses, effective November 1, 2007) and Amendment 711 (making

Amendment 706 retroactive, effective March 3, 2008). The Government responded in opposition

to the motion (Doc. No. 252). The Court has reviewed Defendant’s case to determine whether he

is eligible for a sentence reduction. Although it appears (and the Government concedes) that

Defendant would be eligible for a sentence reduction, based upon consideration of the factors set

forth in 18 U.S.C. § 3553(a) and the reasons supporting the initial sentence, the Court declines to

grant the motion.

       Defendant Jerome Keith Hunt was indicted on November 11, 1998, and charged with one

count of possession with intent to distribute cocaine base, in violation of 21 U.S.C. § 841(a)(1) and

846. On June 10, 1999, Defendant entered into a written plea agreement with the Government,

pursuant to which the Government agreed to recommend a three-level reduction according to



       Case 3:98-cr-00297-FDW             Document 257           Filed 05/08/08         Page 1 of 4
U.S.S.G. § 3E1.1 provided that Defendant acknowledged the nature and extent of all relevant

conduct. The parties also agreed to stipulate that the amount of cocaine base reasonably foreseeable

to Defendant was 1.5 kilograms of crack cocaine. Additionally, Defendant agreed to cooperate with

the government and provide truthful information about the instant offense and about any other

criminal activity within his knowledge.

       It is uncontested that Defendant’s original guideline range of imprisonment was between 292

and 365 months, based on an offense level of thirty-seven (37) and a criminal history category of IV

as calculated by the Guidelines as they existed at the time of Defendant’s sentencing. On October

27, 1999, the Court sentenced Defendant to be imprisoned for 292 months. On February 9, 2000,

the Government filed a motion to reduce Defendant’s sentence pursuant to Rule 35(b) of the Federal

Rules of Criminal Procedure based upon his substantial assistance. The Court then departed

downward eight offense levels to a level 29 and reduced Defendant’s sentence to 121 months’

imprisonment. Defendant now requests this Court to reduce his sentence to 120 months, which is

the mandatory minimum term of imprisonment in this case. This would result in the immediate

release of Defendant.

       Section 3582(c)(2) of Title 18 provides that in the case of a defendant who has been

sentenced to a term of imprisonment “based on a sentencing range that has subsequently been

lowered by the Sentencing Commission,” upon motion of the defendant or upon its own motion, the

court may reduce the term of imprisonment, “after considering the factors set forth in [18 U.S.C. §]

3553(a) to the extent they are applicable” and if such a reduction is consistent with the applicable

policy statements issued by the Sentencing Commission. The text of § 1B1.10, as amended, makes

clear in subsection (a)(3) that “proceedings under 18 U.S.C. § 3582(c)(2) and this policy statement


                                                -2-


      Case 3:98-cr-00297-FDW           Document 257        Filed 05/08/08     Page 2 of 4
do not constitute a full resentencing of the defendant.” Id. § 1B1.10(a)(3). In the Commentary to

§ 1B1.10, the Sentencing Commission emphasized that the decision to grant a sentence reduction

authorized by retroactive amendments is a discretionary decision, making clear that defendants are

not entitled to such reductions as a matter of right: “The authorization of such a discretionary

reduction . . . does not entitle a defendant to a reduced term of imprisonment as a matter of right.”

Id. Background Commentary; see also U.S.S.G. § 1B1.10(a)(1) (indicating that the Court “may

reduce the defendant’s term of imprisonment,” thereby recognizing that a resentencing is

discretionary) (emphasis added). In addition to considering the nature and circumstances of the

offense, the history and characteristics of the defendant, and the other sentencing factors set forth in

18 U.S.C. § 3533(a), Application Note 1(B)(iii) to §1B1.10 explicitly provides that a court may

consider post-sentencing conduct of the defendant in determining the propriety and the extent of any

reduction. See United States Sentencing Commission Sentencing Guidelines § 1B1.10 cmt.

n.1(B)(iii).

        The full record before the Court, including the original Presentence Report, indicates that

during the course of the conspiracy, Defendant knowingly and voluntarily participated in a crack

cocaine distribution organization that spanned from January 1988 all the way through 1998. During

this decade-long distribution scheme, Defendant and his co-conspirators regularly employed violence

or the threat of violence as a means to their distribution ends. Defendant was known to carry

firearms, including a .38 caliber revolver and an Uzi, and other members of the conspiracy also used

firearms for the purpose of protection and intimidation.

        In addition to the violent nature of Defendant’s conduct during the conspiracy and the length

of the conspiracy, the Court in this case has already granted Defendant an extensive reduction in


                                                  -3-


       Case 3:98-cr-00297-FDW             Document 257         Filed 05/08/08        Page 3 of 4
sentence to 41% of the low-end of the original guideline range and to just one month over the

mandatory minimum for the amount of drugs foreseeable to Defendant. Furthermore, Defendant’s

behavior while in prison has demonstrated that he is not prepared to abide by the law. Along with

threats of bodily harm to prison staff and a total of ten disciplinary citations over the course of his

six years in prison, Defendant was once cited for engaging in a sexual act after exposing himself to

female staff.

       Therefore, the Court finds that, under the facts and circumstances of this case, and in

consideration of the relevant sentencing factors at § 3553(a), the original sentence is, and remains,

appropriate and that no adjustment is warranted in this case. Accordingly, Defendant’s motion (Doc.

No. 246) is DENIED.

       IT IS SO ORDERED.

                                                  Signed: May 8, 2008




                                                 -4-


       Case 3:98-cr-00297-FDW            Document 257        Filed 05/08/08       Page 4 of 4
